        Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 1 of 15



 1   Leo R. Beus (pro hac vice pending)
     Michael K. Kelly (pro hac vice pending)
 2   K. Reed Willis (pro hac vice pending)
     BEUS GILBERT PLLC
 3   Attorneys at Law
     701 North 44th Street
 4   Phoenix, Arizona 85008-6504
     Telephone: (480) 429-3000
 5   Facsimile: (480) 429-3001
     Email: lbeus@beusgilbert.com
 6           mkelly@beusgilbert.com
             rwillis@beusgilbert.com
 7
     Allan Steyer (State Bar No. 100318)
 8   Donald Scott Macrae (State Bar No. 104663)
     Jill K. Cohoe (State Bar No. 296844)
 9   STEYER LOWENTHAL BOODROOKAS
      ALVAREZ & SMITH LLP
10   235 Pine Street, 15th Floor
     San Francisco, California 94104
11   Telephone: (415) 421-3400
     Facsimile: (415) 421-2234
12   E-mail:       asteyer@steyerlaw.com
                   smacrae@steyerlaw.com
13                 jcohoe@steyerlaw.com
14   Attorneys for Defendant
     Swarm Technology LLC
15
                                 UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
17

18
     JUNIPER NETWORKS, INC.                       Case No. 3:20-CV-03137-JD
19
                           Plaintiff,
20                                                SWARM’S REPY TO JUNIPER’S
            v.                                    OPPOSITION TO SWARM’S MOTION TO
21                                                DISMISS
     SWARM TECHNOLOGY LLC,
22                                                Date:       September 17, 2020
                           Defendant.             Time:       10:00 a.m.
23                                                Location:   Courtroom 11
                                                  Judge:      Hon. James Donato
24

25

26

27

28



     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                    CASE NO. 3:20-CV-03137-JD
            Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 2 of 15



 1                                                          TABLE OF CONTENTS
 2

 3   I.        INTRODUCTION ............................................................................................................. 1
 4             A.        Procedural Posture ................................................................................................. 1
 5             B.        Summary of Argument........................................................................................... 1
 6   II.       SWARM’S CONTACTS WITH CALIFORNIA DO NOT MEET THE
               CONSTITUTIONAL THRESHOLD FOR PERSONAL JURISDICTION ...................... 3
 7

 8             A.        Swarm First Offered Juniper a License in 2018..................................................... 3

 9             B.        Swarm Attended Three – and Only Three - Trade Shows in California................ 3

10             C.        Swarm’s Contacts With Juniper Are Limited to Licensing Discussions ............ 4

11             D.        Swarm Also Offered Licenses to Other Companies in California ......................... 5

12             E.        Post-Suit Settlement Discussions Are Irrelevant to Personal Jurisdiction ............. 5

13   III.      PERSONAL JURISDICTION REQUIRES ENFORCEMENT ACTION ........................ 6
     IV.       SWARM’S ACTIONS DO NOT SUPPORT PERSONAL JURISDICTION .................. 8
14
     V.        JURISDICTIONAL DISCOVERY IS UNNECESSARY AND UNWARRANTED ....... 9
15
     VI.       VENUE IS IMPROPER IN THIS COURT ..................................................................... 10
16   VII.      THIS COURT LACKS SUBJECT MATTER JURISDICTION ..................................... 10
17   VIII.     CONCLUSION ................................................................................................................ 10

18

19

20

21

22

23

24

25

26

27

28



     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                                                   CASE NO. 3:20-CV-03137-JD
         Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 3 of 15



 1                                                          TABLE OF AUTHORITIES
 2                                                                                                                                            Page

 3   Cases
 4   Adobe Sys. Inc. v. Tejas research, LLC.,
       No. C-14-0868 EMC (N.D. Cal. Sep. 17, 2014) ....................................................................... 1,6
 5   AFTG-TG, LLC v. Nuvoton Tech. Corp.,
 6     689 F.3d 1358 (Fed. Cir. 2012) .................................................................................................... 6
     Am. W. Airlines, Inc. v. GPA Group, Ltd.,
 7     877 F.2d 793 (9th Cir.1989)......................................................................................................... 9
     Autogenomics, Inc. v. Oxford Gene Tech. Ltd.,
 8     566 F.3d 1012 (Fed. Cir. 2009) ................................................................................................ 6, 7
     Autogenomics, Inc. v. Oxford Gene Tech., Ltd.,
 9
       No. SACV 07-846-MRP (ANx), 2008 WL 7071464 (C.D. Cal. Jan. 17, 2008) ..................... 8, 9
10   Autonomy, Inc. v. Adiscov, LLC,
       No. C11-0420 SBA, 2011 WL 2175551 (N.D. Cal. June 3, 2011) ........................................... 1, 7
11   Avocent Huntsville Corp.,
       552 F.3d 1324 (Fed. Cir. 2008) ............................................................................................ 1, 6, 7
12   Boschetto v. Hansing,
       539 F.3d 1011 (9th Cir. 2008)...................................................................................................... 9
13
     Breckenridge Pharm., Inc. v. Metabolite Labs., Inc.,
14     444 F.3d 1356 (Fed. Cir. 2006) .................................................................................................... 7
     Campbell Pet Co. v. Miale,
15     542 F.3d 879 (Fed. Cir. 2008) ...................................................................................................... 7
       Elecs for Imaging, Inc. v. Rah Color Techs. LLC, Case No. 18-cv-01612-WHO (N.D. Cal.
16     Oct. 24, 2018)............................................................................................................................... 9
     Juniper Networks, Inc. v. SSL Services, LLC,
17
       Case No. C 08-5758 SBA at Page 3 (N.D. Cal. Nov. 16, 2009) ............................................ 1,6,7
18   Maryland Casualty Co. v. Pacific Coal & Oil Co.,
       312 U. S. 270.............................................................................................................................. 10
19   MedImmune, Inc. v. Genentech, Inc.,
       549 U.S. 118 (2007) ................................................................................................................... 10
20   Nuance Communications v. Abbyy Software House ........................................................................ 9
21   Pieczenik v. Dyax Corp.,
       265 F.3d 1329 (Fed. Cir. 2001) ................................................................................................ 6, 7
22   Radio Sys. Corp. v. Accession, Inc.,
       638 F.3d 785 (Fed. Cir. 2011) ...................................................................................................... 6
23   Square, Inc. v. Morales,
       No. C13-01431 SBA, 2013 WL 6199281 (N.D. Cal. Nov. 27, 2013) ......................................... 7
24   Wells Fargo & Co. v. Wells Fargo Express Co.,
25     556 F.2d 406 ................................................................................................................................ 9

26

27

28


                                        ii
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                                                      CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 4 of 15



 1   I.      INTRODUCTION
 2           A.     PROCEDURAL POSTURE
 3           Juniper filed its Complaint for Declaratory Judgement of Non-Infringement in this Court
 4   on May 7, 2020. 1 On July 14, 2020, Swarm moved to dismiss the Complaint for lack of personal
 5   jurisdiction, lack of subject matter jurisdiction, and improper venue. 2 In response to Juniper’s
 6   Opposition lodged August 11, 2020, 3 and in accordance with this Court’s Scheduling Order dated
 7   July 24, 2020, 4 Swarm hereby files this Reply Memorandum.
 8           B.     SUMMARY OF ARGUMENT
 9           In declaratory judgement actions for non-infringement, this Court has consistently held that
10   conducting licensing discussions with a forum resident, even when those discussions involve
11   sending cease and desist letters into the forum 5 or actually threatening an infringement action
12   against a forum resident, 6 are insufficient to support personal jurisdiction over the patent holder.
13   Instead, due process requires the patent holder to have also engaged in “other activities” 7 involving
14   enforcement of the patent. In the context of a declaratory judgement for non-infringement, the
15   plaintiff must establish that the patent holder either initiated judicial or extra-judicial patent
16   enforcement actions within the forum, or otherwise imposed enforcement obligations upon a forum
17   resident. 8
18
     1
19     Dkt. #1.
     2
       Dkt. #18.
20   3
       Dkt. #26.
21   4
       Dkt. #23.
     5
22     Juniper Networks, Inc. v. SSL Services, LLC, Case No: C 08-5758 SBA at Page 3 (N.D. Cal.
     Nov. 13, 2009) (“In Avocent, the Federal Circuit held that sending cease and desist letters to an
23   alleged infringer within the forum, standing alone, is insufficient to establish personal
     jurisdiction); citing Avocent Huntsville Corp., 552 F.3d 1324, 1333 (Fed. Cir. 2008).
24   6
       Adobe Sys. Inc. v. Tejas Research, Llc., No. C-14-0868 EMC (N.D. Cal. Sep. 17, 2014) at Page
     3, Citing Autonomy, Inc. v. Adiscov, LLC, No. C11-0420 SBA, 2011 WL 2175551, at *3 (N.D.
25   Cal. June 3, 2011) ("[T]he act of threatening a party with an infringement lawsuit is, standing
     alone, insufficient to establish personal jurisdiction.").
26   7
       Juniper Networks v. SSL Services at 3 citing Avocent at 1333 (“Rather, the court observed that
27   the Federal Circuit has ‘consistently required the defendant to have engaged in ‘other activities’
     that relate to the enforcement or the defense of the validity of the relevant patents.’”).
28   8
       Adobe v. Tejas at 3, citing Avocent at 1334 (“In Avocent, the court noted that these ‘other
     activities’ include ‘initiating judicial or extra-judicial patent enforcement within the forum.’”);
     See also Juniper Networks v. SSL Services at 3 citing Avocent at 1334 (“Examples of these ‘other
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                         CASE NO. 3:20-CV-03137-JD
        Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 5 of 15



 1          In the present case, the entirety of Swarm’s contacts in California comprise efforts to license
 2   its patents. Swarm’s licensing overtures to Juniper included detailed claim charts which map
 3   Swarm’s patent claims to Juniper’s products. These claim charts underscore Swarm’s diligence
 4   and good faith efforts to avoid litigation in favor of a licensing arrangement. Even assuming,
 5   arguendo, that claim charts are tantamount to an infringement allegation, Swarm never sent a cease
 6   and desist letter, 9 never issued an oral or written demand, 10 never commenced an enforcement
 7   action (judicial or otherwise), 11 and never engaged in any predicate activity whatsoever of the type
 8   required to confer personal jurisdiction.
 9          Indeed, Juniper has not even alleged that Swarm performed such a predicate act. Rather,
10   Juniper simply argues – contrary to controlling precedent – that Swarm’s licensing offers to Juniper
11   and other California residents somehow constitute “other activities” which this Court should
12   recognize as supporting personal jurisdiction. 12 They do not. As detailed below, regardless of the
13   extent to which Swarm sought licensees in California, those efforts are insufficient to confer
14   personal jurisdiction unless Swarm also engaged in “other activities”. Because Swarm did not
15   engage in “other activities,” Juniper has not established and cannot establish a prima facie case of
16   personal jurisdiction over Swarm. No amount of jurisdictional discovery can change this
17   conclusion.
18          For the foregoing reasons and as discussed more fully below, this Court lacks personal
19   jurisdiction over Swarm, and Juniper’s Complaint for Declaratory Judgement of Non-Infringement
20   should therefore be dismissed. In the alternative, Swarm requests this Court to exercise its plenary
21   authority to transfer this matter to the District of Arizona, where Swarm resides and is subject to
22   personal jurisdiction.
23

24
     activities’ include initiating judicial or extra-judicial patent enforcement within the forum, or
25   entering into an exclusive license agreement or other undertaking which imposes enforcement
     obligations with a party residing or regularly doing business in the forum.”) (Emphasis in
26   original).
     9
       Fisher Decl. ¶ 6; Declaration of Alfonso Iniguez (the “Iniguez Decl.”) ¶ 13.
27   10
        Fisher Decl. ¶ 7; Iniguez Decl. ¶ 12.
28   11
        Fisher Decl. ¶ 5; Iniguez Decl. ¶ 17.
     12
        Dkt. #26 at Page 13.
                                                          2
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                            CASE NO. 3:20-CV-03137-JD
           Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 6 of 15



 1   II.      SWARM’S CONTACTS WITH CALIFORNIA DO NOT MEET THE
 2            CONSTITUTIONAL THRESHOLD FOR PERSONAL JURISDICTION

 3            A.     SWARM FIRST OFFERED JUNIPER A LICENSE IN 2018

 4            Swarm’s first licensing overture to Juniper came in a letter dated July 16, 2018, 13 which

 5   concluded with the statement: “We would welcome the opportunity to discuss exclusive or non-

 6   exclusive patent licensing arrangements with you.” 14      The letter did not accuse Juniper of

 7   infringement, did not include any claim charts, did not identify any particular Juniper product, did

 8   not include any cease and desist language or make any demand, and did not threaten litigation.

 9   Rather, the letter conspicuously sought to avoid litigation by essentially admitting that Swarm

10   lacked the financial resources to enforce its patents:
                            While Swarm’s processing architecture is poised for rapid
11                   adoption by the IoT industry, Swarm remains a start-up company.
12                   Consequently, Swarm seeks to partner with an established company
                     to quickly build market share and margins for products adopting
13                   Swarm’s technology. 15

14   Juniper never responded to the foregoing letter.

15            B.     SWARM ATTENDED THREE – AND ONLY THREE - TRADE SHOWS
                     IN CALIFORNIA
16
              Alfonso Iniguez is the named inventor on three U.S. Patents covering a revolutionary new
17
     computer processing paradigm, namely, United States Patent Nos. 9,146,777; 9,852,004; and
18
     10,592,275 (the Patents-in-Suit). 16 Swarm is the owner of all three patents by assignment from Mr.
19
     Iniguez 17. Both Mr. Iniguez and Swarm reside in Mesa, Arizona. 18
20
              During 2017 and 2018, Mr. Iniguez attended a total of three (3) trade shows in California
21
     (specifically in May 2017, November 2017, and May 2018) to promote his technology and to seek
22
     out potential licensees. 19 Other than these three trade shows, neither Mr. Iniguez nor anyone else
23

24   13
        See Ex. A (letter from Jennings Strouss to Juniper dated July 16, 2018)
25   14
        Id. At Page 2.
     15
26      Id. At Page 2.
     16
        Iniguez Decl. ¶ 1.
27   17
        Iniguez Decl. ¶ 2.
28   18
        Iniguez Decl. ¶ 3.
     19
        Iniguez Decl. ¶ 4.
                                                      3
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                        CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 7 of 15



 1   has entered the State of California on behalf of Swarm for any purpose whatsoever. 20 Neither Mr.
 2   Iniguez nor anyone else representing Swarm had any contact with Juniper during the trade shows. 21
 3   Despite Juniper’s suggestion to the contrary, no licensing activity took place during the trade
 4   shows. 22 In particular, although Swarm displayed a sign at its booth announcing that licenses were
 5   available, no licensing discussions ever took place with Juniper or anyone else, no draft license
 6   agreements were exchanged (none were available), and no licensing terms were proposed to or
 7   discussed with anyone. 23 Simply stated, while Mr. Iniguez had hoped to generate some interest
 8   among potential licensees at the trade shows, his efforts were wholly unsuccessful. 24
 9           C.     SWARM’S CONTACTS WITH                      JUNIPER       ARE     LIMITED        TO
                    LICENSING DISCUSSIONS
10
             Beginning on July 15, 2019 25 and continuing through May 4, 2020, Swarm’s John Fisher
11
     exchanged approximately ten (10) letters, emails, and telephone calls with Juniper to try to persuade
12
     Juniper to license Swarm’s patents. 26 These communications are detailed in Swarm’s Motion to
13
     Dismiss and Juniper’s Opposition Memorandum and need not be repeated here. 27
14
             In an email dated May 7, 2020, Mr. Fisher provided additional claim chart details to Mr.
15
     Saunders. 28 Three days later, on May 7, 2020, Juniper abruptly terminated the licensing
16
     discussions 29 and, without any notice to Swarm, filed its Complaint for Declaratory Judgement of
17
     Non-Infringement. Significantly, none of Swarm’s communications with Juniper (or with anyone
18
     else) – whether written or oral – included any demand or deadline, and Swarm never threatened
19

20

21
     20
        Iniguez Decl. ¶ 5; Fisher Decl. ¶ 1.
22   21
        Iniguez Decl. ¶ 6.
23   22
        Iniguez Decl. ¶ 7.
     23
24      Iniguez Decl. ¶ 7.
     24
        Iniguez Decl. ¶ 8.
25   25
        Dkt. #18, Declaration of John A. Fisher (the “Fisher Decl.”), Exhibit 1 (letter from Swarm’s
26   John Fisher to Juniper’s Rami Rahim dated July 5, 2019).
     26
        Fisher Decl. ¶ 13.
27   27
        Dkt. #18; Dkt. #26.
28   28
        Sigler Decl., Ex. 9.
     29
        Iniguez Decl. ¶ 9; Fisher Decl. ¶ 2.
                                                      4
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                        CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 8 of 15



 1   any type of judicial or extra-judicial enforcement action whatsoever. 30 Nor has Swarm entered
 2   into a single license agreement – whether exclusive or non-exclusive – with anyone within or
 3   outside of California. 31
 4           D.      SWARM ALSO OFFERED LICENSES TO OTHER COMPANIES IN
                     CALIFORNIA
 5
             In its Opposition Memorandum, Juniper correctly notes that Swarm has also offered patent
 6
     licenses to Cisco and Arista Networks; 32 Swarm further acknowledges that it entered into a non-
 7
     disclosure agreement with RPX. 33 Swarm has also sent licensing offers to potential licensees in a
 8
     number of other states besides California. 34 Notwithstanding these efforts, Swarm has not entered
 9
     into a single license agreement in California or anywhere else, nor has Swarm initiated, engaged
10
     in, or even contemplated any acts of judicial or extra-judicial enforcement of any kind, whether in
11
     California or elsewhere. 35     Juniper’s attempt to characterize Swarm’s licensing efforts as
12
     “enforcement efforts” 36 are not well taken, and should be dismissed by this Court.
13
             E.      POST-SUIT SETTLEMENT DISCUSSIONS ARE IRRELEVANT TO
14                   PERSONAL JURISDICTION
15           Juniper’s arguments regarding the parties’ post-suit settlement discussions 37 have no
16   bearing on whether Swarm’s pre-suit contacts satisfy the Constitutional threshold for personal
17   jurisdiction. As detailed below, Swarm’s interactions with Juniper are wholly insufficient to
18   support personal jurisdiction, and no amount of post-suit posturing can change that conclusion.
19           Moreover, Juniper seeks to characterize the parties’ post-suit discussions as an admission
20   by Swarm that it “intended to initiate litigation against Jupiter” 38 and that it retained litigation
21

22
     30
23       Iniguez Decl. ¶ 17; Fisher Decl. ¶ 10.
     31
         Iniguez Decl. ¶ 15; Fisher Decl. ¶ 8.
24   32
         Dkt. #26 at Page 6.
25   33
         Iniguez Decl. ¶ 16; Fisher Decl. ¶ 9.
     34
26       Iniguez Decl. ¶ 10; Fisher Decl. ¶ 3.
     35
        Iniguez Decl. ¶ 17; Fisher Decl. ¶ 10.
27   36
         Dkt. #26 at Page 6.
28   37
         Dkt. #26 at Page 6.
     38
         Id.
                                        5
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                         CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 9 of 15



 1   counsel “on a contingency basis”. 39 To be clear, Swarm only contacted litigation counsel (Beus
 2   Gilbert McGroder) after and as a direct consequence of Juniper filing this lawsuit. 40 Ironically,
 3   Juniper filed its Complaint at a time when Swarm lacked the resources to wage a proper defense, 41
 4   yet now complains that Swarm has the temerity to retain competent counsel to defend the very
 5   action brought by Juniper.
 6   III.    PERSONAL JURISDICTION REQUIRES ENFORCEMENT ACTION
 7           In a suit for declaratory judgment of non-infringement, Federal Circuit law is applied to
 8   determine whether the district court has personal jurisdiction over a non-resident patent owner.42
 9   As the party seeking to invoke the district court's jurisdiction, the burden of demonstrating personal
10   jurisdiction is on the plaintiff. 43
11           In determining whether specific jurisdiction exists, California courts have applied the three-
12   part analysis articulated in Adobe Sys. Inc. v. Tejas Research: 44 (1) Whether the defendant
13   purposefully directed activities at the forum's residents (by purposefully availing itself of the
14   forum) 45; (2) whether the claim arises out of (or relates to) those activities; and (3) whether assertion
15   of personal jurisdiction is "reasonable and fair.” 46 When applying the reasonableness factor in a
16   declaratory judgment action for non-infringement, "not all of a patentee's activities in the forum
17   state” 47 are relevant to personal jurisdiction. Rather, a declaratory judgment claim "'arises out of
18   or relates to the activities of the defendant patentee in enforcing the patent or patents in
19   suit.’” 48 Consequently, "only those activities of the patentee that relate to the enforcement or
20
     39
        Id.
21   40
        Iniguez Decl. ¶ 18.
22   41
        Iniguez Decl. ¶ 19; Fisher Decl. ¶ 12.
     42
23      Juniper Networks, Inc. v. SSL Services, LLC, Case No: C 08-5758 SBA (N.D. Cal. Nov. 13,
     2009), citing Avocent Huntsville Corp. v. Aten Int'l Co., 552 F.3d 1324, 1328 (Fed. Cir. 2008).
24   43
        See Pieczenik v. Dyax Corp., 265 F.3d 1329, 1333 (Fed. Cir. 2001).
     44
25      Adobe Sys. Inc. v. Tejas Research, Llc., No. C-14-0868 EMC (N.D. Cal. Sep. 17, 2014).
     45
        Id., citing Autogenomics, Inc. v. Oxford Gene Tech. Ltd., 566 F.3d 1012, 1020 (Fed. Cir.
26   2009)).
     46
27      Id., citing AFTG-TG, LLC v. Nuvoton Tech. Corp., 689 F.3d 1358, 1361 (Fed. Cir. 2012).
     47
        Id., citing Radio Sys. Corp. v. Accession, Inc., 638 F.3d 785, 789 (Fed. Cir. 2011).
28   48
        Id., (quoting Avocent Huntsville Corp. v. Aten Int'l Co., Ltd., 552 F.3d 1324, 1332 (Fed. Cir.
     2008)).
                                                        6
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                          CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 10 of 15



 1   defense of the patent can give rise to specific personal jurisdiction for such an action.” 49 The Court
 2   must therefore "examine the jurisdictional facts for conduct whereby the patentee 'may be said to
 3   purposefully avail itself of the forum and to engage in activity that relates to the validity and
 4   enforceability of the patent." 50
 5           In Avocent, the Federal Circuit held that cease and desist letters sent to an alleged infringer
 6   within the forum, standing alone, were insufficient to establish personal jurisdiction. 51 The Federal
 7   Circuit has also held that a patent holder who merely threatens a forum resident with an
 8   infringement action is not subject to personal jurisdiction. 52 Instead, the Federal Circuit has
 9   "consistently required the defendant to have engaged in `other activities' that relate to the
10   enforcement or the defense of the validity of the relevant patents." 53 Examples of such “other
11   activities” include initiating judicial or extra-judicial patent enforcement within the forum, or
12   entering into an exclusive license agreement or other undertaking which imposes enforcement
13   obligations with a party residing or regularly doing business in the forum. 54 “Extra-judicial”
14   enforcement occurs when a patentee affirmatively impedes the free movement of allegedly
15   infringing goods through commerce, for example by seeking to remove them from a trade show. 55
16           Even where a patent owner enters into multiple license agreements with forum residents,
17   personal jurisdiction may still be lacking if the agreements do not afford the patent owner control
18   over the licensee's sales activities. 56 That is, even substantial licensing activities resulting in
19
     49
        Id., quoting Square, Inc. v. Morales, No. C13-01431 SBA, 2013 WL 6199281, at *4 (N.D. Cal.
20   Nov. 27, 2013) (citing Avocent, 552 F.3d 1324, 1332).
     50
21      Id., citing Autogenomics, 566 F.3d at 1020.
     51
        Juniper Networks at 3, citing Avocent at 552 F.3d at 1333.
22   52
        Id., citing Autonomy, Inc. v. Adiscov, LLC, No. C11-0420 SBA, 2011 WL 2175551, at *3 (N.D.
23   Cal. June 3, 2011) ("[T]he act of threatening a party with an infringement lawsuit is, standing
     alone, insufficient to establish personal jurisdiction.").
24   53
        Id., citing Avocent at 1334.
     54
25      Id.
     55
        Campbell Pet Co. v. Miale, 542 F.3d 879, 886 (Fed. Cir. 2008) (“[The patent owner] attempted
26   to have Campbell's allegedly infringing products removed from the convention”).
     56
27      See, e.g., Breckenridge Pharm., Inc. v. Metabolite Labs., Inc., 444 F.3d 1356, 1366 (Fed. Cir.
     2006) (noting no personal jurisdiction where the "defendant has successfully licensed the patent
28   in the forum state, even to multiple non-exclusive licensees, but does not, for example, exercise
     control over the licensee's sales activities and, instead, has no dealings with those licensees
     beyond the receipt of royalty income").
                                                         7
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                           CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 11 of 15



 1   multiple license agreements with forum residents are insufficient to confer personal jurisdiction
 2   unless the agreements create exclusive relationships between the patentee and residents of the
 3   forum. 57
 4   IV.     SWARM’S ACTIONS DO NOT SUPPORT PERSONAL JURISDICTION
 5           This Court has consistently refused to exert personal jurisdiction over a patentee who has
 6   not either: i) initiated a judicial or extra-judicial enforcement action; ii) entered into an exclusive
 7   license agreement; or iii) otherwise imposed enforcement obligations upon a party residing in or
 8   regularly doing business in the forum. In the present case, the entirety of Swarm’s contacts with
 9   Juniper comprise a dozen letters and emails surrounding licensing discussions. To the extent
10   Swarm attended trade shows in California, Swarm had no contact with Juniper and no licensing
11   discussions or enforcement activities took place.
12           Swarm has never signed a license agreement, sent a cease and desist letter, issued an oral
13   or written demand, or commenced any enforcement action of any kind with anyone, inside or
14   outside California. Because Swarm has not performed a single predicate act of the type required
15   to support personal jurisdiction, this Court may not properly exercise personal jurisdiction over
16   Swarm.
17           Notably, Juniper has not even alleged facts sufficient to establish a prima facie case of
18   personal jurisdiction. Rather, Juniper simply declares that Swarm’s licensing efforts constitute
19   “enforcement activities” which somehow satisfy the “other activities” requirement.               Juniper
20   essentially argues that the extent of Swarm’s licensing efforts are sufficient to support personal
21   jurisdiction. However, as explained above, mere licensing activity cannot satisfy the due process
22   requirement for personal jurisdiction absent “other activities.”
23           Because this Court lacks personal jurisdiction over Swarm, Juniper’s Complaint should
24   therefore be dismissed.
25

26
     57
27     See Autogenomics, Inc. v. Oxford Gene Tech., Ltd., No. SACV 07-846-MRP (ANx), 2008 WL
     7071464 (C.D. Cal. Jan. 17, 2008), aff'd 566 F.3d 1012 (Fed. Cir. 2009) ("Extensive authority
28   supports the proposition that other licensing activities with in-state entities, even if substantial, are
     generally insufficient for specific jurisdiction unless they create exclusive relationships between
     the patentee and residents of the forum.").
                                                        8
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                           CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 12 of 15



 1   V.      JURISDICTIONAL DISCOVERY IS UNNECESSARY AND UNWARRANTED
 2           Juniper insists that it should be allowed to conduct jurisdictional discovery, arguing that

 3   such discovery “is likely to reveal more contacts” between Swarm and Silicon Valley hardware and

 4   software companies. 58 Juniper concludes that “if discovery were to show that Swarm was seeking

 5   to license its patents to those companies, this would likely constitute “other activities” sufficient to

 6   confer jurisdiction.” 59 Juniper is mistaken.

 7           Even if discovery revealed that Swarm endeavored to license other companies in the

 8   Northern District, the jurisdictional analysis remains unchanged. 60 This Court has repeatedly and

 9   unambiguously stated that licensing activities are insufficient to confer personal jurisdiction absent

10   “other activities.” John Fisher and Alfonso Iniguez have stated under penalty of perjury that Swarm

11   never engaged in any “other activities.” 61 Juniper’s slight-of-hand attempt to characterize garden

12   variety licensing overtures as “other activities” cannot cure a factually deficient jurisdictional

13   predicate.   Juniper’s request for jurisdictional discovery is therefore both unnecessary and

14   unwarranted.

15           Moreover, a plaintiff is not entitled to jurisdictional discovery “when it is clear that further

16   discovery would not demonstrate facts sufficient to constitute a basis for jurisdiction, 62” or where

17   the request is "based on little more than a hunch that it might yield jurisdictionally relevant facts." 63

18           Having jumped the gun and filed its Complaint without a sufficient basis for establishing

19   personal jurisdiction over Swarm, Juniper should not be permitted to conduct a fishing expedition

20   at Swarm’s expense. This Court should therefore dismiss Juniper’s Complaint and deny their

21   request for jurisdictional discovery.

22
     58
        Dkt. #26 at Page 15.
23   59
        Id.
24   60
        Elecs. for Imaging, Inc. v. Rah Color Techs. LLC, Case No. 18-cv-01612-WHO (N.D. Cal. Oct.
     24, 2018) (“The number of letters following up on those cease-and-desist letters and the number
25   of letters involved in negotiating the licenses would not change the jurisdictional analysis. …
     Additional discovery would uncover nothing new on those points.”).
26   61
        Iniguez Decl.; Fisher Decl.
27   62
        Nuance Communications v. Abbyy Software House, quoting Am. W. Airlines, Inc. v. GPA
     Group, Ltd., 877 F.2d 793, 801 (9th Cir.1989) (quoting Wells Fargo & Co. v. Wells Fargo
28   Express Co., 556 F.2d 406, 430 n. 24 (9th Cir.1977)).
     63
        Nuance, quoting Boschetto v. Hansing, 539 F.3d 1011, 1020 (9th Cir. 2008).
                                                       9
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                        CASE NO. 3:20-CV-03137-JD
          Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 13 of 15



 1   VI.     VENUE IS IMPROPER IN THIS COURT
 2           This court need not address venue since it lacks personal jurisdiction over Swarm. However,

 3   even if venue is proper in the Northern District, venue is more appropriate in Arizona where Swarm

 4   resides and is subject to personal jurisdiction. Accordingly, in addition to or in lieu of granting

 5   Swarm’s Motion to Dismiss for lack of personal jurisdiction, this Court should transfer this matter

 6   to the District of Arizona.

 7   VII.    THIS COURT LACKS SUBJECT MATTER JURISDICTION
 8           In determining whether a case or controversy exists in a declaratory judgement context,

 9   courts should consider whether “the facts alleged, under all the circumstances, show that there is a

10   substantial controversy, between parties having adverse legal interests, of sufficient immediacy and

11   reality” to warrant relief. 64

12           Swarm never issued a demand, set a deadline, or otherwise indicated an intent to file suit

13   and, hence there was no “immediacy” associated with the negotiations between Juniper and Swarm.

14   This Court should therefore dismiss Juniper’s Complaint for lack of subject matter jurisdiction.

15   VIII. CONCLUSION
16           Juniper has not established and cannot establish that Swarm initiated judicial or extra-

17   judicial patent enforcement activities in California, or that Swarm otherwise imposed enforcement

18   obligations upon a forum resident. Because Swarm is not subject to personal jurisdiction in the

19   Northern District, this Court should either dismiss Juniper’s Complaint outright or, alternatively,

20   transfer this matter to Arizona. No amount of jurisdictional discovery can cure the jurisdictional

21   defects in Juniper’s Complaint, and Juniper’s request for such discovery should therefore be denied.

22

23

24

25

26

27

28   64
       MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118 (2007), citing Maryland Casualty
     Co. v. Pacific Coal & Oil Co., 312 U. S. 270, 273.
                                                    10
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                     CASE NO. 3:20-CV-03137-JD
      Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 14 of 15



 1   Dated: September 1, 2020        Respectfully submitted,
 2

 3                                   By /s/Michael K. Kelly
 4
                                     BEUS GILBERT McGRODER PLLC
 5                                        Leo R. Beus
                                          Michael K. Kelly
 6                                        K. Reed Willis
 7                                   STEYER LOWENTHAL BOODROOKAS
                                      ALVAREZ & SMITH LLP
 8                                       Allan Steyer
                                         Donald Scott Macrae
 9                                       Jill K. Cohoe
10                                   Attorneys for Defendant Swarm Technology LLC
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                       11
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL           CASE NO. 3:20-CV-03137-JD
       Case 3:20-cv-03137-JD Document 27 Filed 09/01/20 Page 15 of 15



 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on September 1, 2020, I caused the foregoing document to be served
 3   via the Court’s CM/ECF system on all counsel of record per Local Rule CV-5(5).
 4
                                                         /s/Suneel Jain
 5
                                                        Suneel Jain
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                       12
     SWARM’S REPLY TO JUNIPER’S OPP TO MTD COMPL                     CASE NO. 3:20-CV-03137-JD
